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 Mallhew E. Draper                                                   \      B rOJ·-
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 DRAPER & DRAPER LLC                                                              !}_$ 0G.2o�god,
 200 Park Avenue, Suite 1700                                             Datum:
 New York, NY 10166
 Tel: (347) 442-7788
 Fax: (505) 490-4590

 Counsel for Serbian Bankruptcy Supervision
 Agency as Trustee o/Zelezara Smederevo D. 0.0.
 in bankruptcy

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------x
  In re:

               ZELEZARA SMEDEREVO                                        Chapter 15
               D.0.0.,
                                                                         Case No. __________

                          Debtor in a Foreign Proceeding.
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                      DECLARATION OF ZELJKO MIJUSKOVIC
          IN SUPPORT OF VERIFIED PETITION AND RECOGNITION HEARING

          I, Zeljko Mijuskovic, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury

  as follows:

          1.       I am a practicing insolvency specialist and bankruptcy administrator located in

  Serbia. I have held a license to work as a bankruptcy administrator since 20 l 0, from which time I

  have acted or am still acting in a number of bankruptcy proceedings before competent

  (Commercial) Bankruptcy courts in the Republic of Serbia.

          2.       I am familiar with the Bankruptcy Act ('Official Gazette of the Republic of Serbia',

  No 104/09, 99/2011,71/2012, 83/2014,113/2017, 44/2018 and 95/2018) (the "Serbian Bankrnptcy

  Law"). An English translation of the Serbian Bankrnptcy Law is attached hereto as Exhibit A.

          3.       Although my native language is Serbian, I speak English, and have elected to

  submit this declaration in English.
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